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From: Bryan Busch <Bryan.Busch@arlaw.com>
Sent: Thursday, April 12, 2018 9:54 AM

To: Chris Cardwell

Ce: Hilary Dennen; Evans, Diana; Tillie Noble
Subject: RE: NuVasive v. Absolute Medical, LLC

We can accept service for Absolute Medical Systems, LLL but Absolute Medical, Inc. is not affiliated with Soufleris to my
knowledge

Please note that our Suite Number has changed to Suite 1600.

Bryan Busch
Partner

gq

3424 Peachtree Road NE, Suite 1600 | Atlanta, GA 30326
main 470.427.3700 | direct 470.427.3702 |
efax 470.427.3676 | fax 404.500.5975

 

 

 

 

bryan.busch@arlaw.com

 

 

website bio vCard map

From: Chris Cardwell [mailto:ccardwell@gsrm.com]
Sent: Wednesday, April 11, 2018 4:40 PM

To: Bryan Busch

Cc: Hilary Dennen; Evans, Diana; Tillie Noble
Subject: NuVasive v. Absolute Medical, LLC

Bryan — we’ve prepared subpoenas for two entities owned by Mr. Soufleris — Absolute Medical, Inc. and Absolute
Medical Systems, LLC. Will you accept service of them?

Thanks,

Chris

Christopher W. Cardwell

Gullett Sanford Robinson & Martin PLLC

150 Third Avenue South | Suite 1700 | Nashville, TN 37201

Main | 615.244.4994 Direct | 615.921.4240 Fax | 615.921.4340
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EXHIBIT
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